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                        IN THE UNITED STATES DISTRICT COURT
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 8                              FOR THE DISTRICT OF ARIZONA
 9    Crisby Studio AB, a Swedish limited
10    liability company, and Niklas Thorin, a        Case No.
      Swedish resident
11
                  Plaintiffs,
12                                                   [PROPOSED] ORDER GRANTING
                                                     PLAINTIFF’S EX PARTE MOTION
13    v.                                             FOR TEMPORARY RESTRAINING
                                                     ORDER AND ORDER TO SHOW
14    GoDaddy, Inc., a Delaware corporation,         CAUSE     FOR   PRELIMINARY
                                                     INJUNCTION
15    GoDaddy.com, LLC, a Delaware
      corporation, and 123-Reg Limited, a UK
16    company,
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                 Defendants.
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           Having considered Plaintiffs Crisby Studio AB, and Niklas Thorin (“Crisby” or
20
     “Plaintiff”), motion pursuant to Fed. R. Civ.P. 65 and Local Rule 65.1 for a temporary
21 restraining order, and good cause appearing,
22         It is HEREBY ORDERED that Plaintiffs’ Motion is GRANTED;
23         It is FURTHER ORDERED Defendants GoDaddy, Inc., GoDaddy.com, LLC and
24 123-Reg Limited (collectively “Defendants”), its officers, agents, directors, affiliates,
25 servants, employees, and all persons acting in concert with them, are hereby enjoined from
26 directly or indirectly causing the expiration of the calor.com domain name (“Domain”) or
27 allowing the Domain to revert to the registry to be generally available for purchase by third
28 parties;
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           It is FURTHER ORDERED that Defendants are enjoined from preventing or
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     frustrating Plaintiffs’ right, pursuant to the Domain Name Registration Agreement
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     pursuant to the Domain Name Registration Agreement with Defendants, to renew the
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     registration of the Domain;
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           It is FURTHER ORDERED that Defendants, their officers, agents, directors,
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     affiliates, servants, employees, and all persons acting in concert with them are enjoined
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     from selling, or otherwise transferring ownership, or allowing others to sell or transfer
 7 ownership interest in the Domain to any party, or purchasing or accepting ownership
 8 interest in the Domain; and
 9         It is FURTHER OREDERED that Defendants are ORDERED to show cause why
10 a preliminary injunction should not issue, pursuant to Fed. R. Civ. P. 65, enjoining
11 Defendants from directly or indirectly committing the above-described acts during the
12 pendency of this action.
13         IT IS SO ORDERED.

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